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                             UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA
                                    AT HUNTINGTON

                                                                )
    JILLIAN WATKINS,                                            )
                             Plaintiff,                         )
                  v.                                            )
                                                                           C.A. No. 3:22-cv-00109
                                                                )
    LINCARE INC.,                                               )
                             Defendant.                         )
                                                                )

    DEFENDANT LINCARE INC.’S MOTION IN LIMINE TO EXCLUDE DOCUMENTS
     AND TESTIMONY RELATING TO PAST COMPLAINTS AND SETTLEMENTS1

         Pursuant to the Court’s Order (ECF No. 223) and the Federal Rules of Evidence,

Defendant Lincare Inc. (“Lincare”) moves to exclude testimony, evidence, suggestion, or other

inferences regarding past False Claims Act (“FCA”) complaints alleging violations or

settlements that Lincare has entered into. This evidence includes, but is not limited to, Plaintiff’s

proposed exhibits previously filed as ECF No. 160-1 and proposed exhibit with the Bates

number LINCARE003442-3623.2

         Evidence or other references regarding past FCA complaints or settlements do not have a

tendency to make a fact more or less probable than it would be without the evidence, and is

therefore not relevant under Fed. R. Evid. 401 and inadmissible under Fed. R. Evid. 402. Even if

the evidence were relevant, it should be excluded under Fed. R. Evid. 403, because its probative

value is substantially outweighed by a danger of unfair prejudice against Lincare, and of

confusing the issues at trial. The fact of Lincare’s prior settlements is not admissible to “either


1
 The documents at issue in this motion include one settlement agreement and seven complaints or amended
complaints.

2
 This Motion does not pertain to the recent settlement by Lincare with the United States of the investigation
conducted by the United States Attorneys’ Office for the Southern District of New York, which should be excluded
for the reasons set forth in a separate Motion in Limine.
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prove or disprove the validity or amount of a disputed claim” pursuant to Fed. R. Evid. 408. It

also constitutes improper character evidence under Fed. R. Evid. 404.

        As argued more fully in Lincare’s Opposition to Plaintiff’s Motion to Compel Discovery

Responses from Defendant Lincare, Inc. (ECF No. 154), evidence of past settlements is not

relevant because it has no connection to Plaintiff’s termination and whether it was retaliatory.

This is even more applicable to the complaints that Plaintiff has proffered as exhibits, which are

nothing more than allegations of wrongdoing.

        Plaintiff does not bring an FCA claim, but instead brings a claim for retaliation under the

West Virginia Patient Safety Act (“WVPSA”). For purposes of the WVPSA, it is irrelevant

whether Lincare was actually engaged in the activities Plaintiff reported; it is only relevant

whether Lincare took action against Plaintiff in retaliation for her reports. Allegations of

unrelated past fraudulent actions do not make it more or less likely that Lincare retaliatorily

terminated the Plaintiff, especially where the past settlements do not involve claims of

retaliation.

        Even were the evidence relevant, it would only serve to confuse the issues at trial and

prejudice Lincare. There is no probative value to prior complaints or settlements because they

involve allegations of fraudulent billing, and often do not involve any finding or admission of

liability by Lincare In addition, presenting evidence of past settlements at trial would require

Lincare to litigate the issue of whether it was actually engaged in fraud in each of the prior

settlements, which is irrelevant to the elements of a WVPSA claim. It would also require

Lincare to defend its actions in a wholly unrelated investigation.

        It is for this reason that evidence of past settlements is not admissible to prove the

validity of a disputed claim, including whether Lincare is liable for improper conduct in this



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matter. Fed. R. Evid. 408. Where a company’s settlement practices in general are not at issue—

which they are not in the case at hand—information regarding prior litigation involving that

company is not only not relevant, but is inadmissible under Fed. R. Evid. 408.

       Evidence of prior allegations or settlements is also not admissible as evidence of

Lincare’s character to prove that on this occasion, Lincare acted in accordance with that

character or trait. Fed. R. Evid. 404. There is a high risk that should this evidence be presented

at trial, that it would be used for such an improper purpose.

               WHEREFORE, Lincare respectfully requests that the Court grant its Motion in

Limine and exclude testimony, evidence, suggestion, or other inferences regarding past FCA

complaints and settlements, and grant such other relief as it deems just and proper.

                                                      Respectfully submitted,

                                                      LINCARE INC.,

                                                      By its attorneys,

                                                       /s/ Vivian Basdekis
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Dated: May 7, 2024



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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT HUNTINGTON

                                                         )
JILLIAN WATKINS,                                         )
                          Plaintiff,                     )
                v.                                       )
                                                                  C.A. No. 3:22-cv-00109
                                                         )
LINCARE INC.                                             )
                          Defendant.                     )
                                                         )

                                 CERTIFICATE OF SERVICE

       I, Vivian H. Basdekis, hereby certify that on this 7th day of May, 2024, I caused the

foregoing DEFENDANT LINCARE INC.’S MOTION IN LIMINE TO EXCLUDE

DOCUMENTS AND TESTIMONY RELATING TO PAST COMPLAINTS AND

SETTLEMENTS to be served on counsel of record through the CM/ECF system, which will

provide notification to the following:


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                                                 /s/ Vivian Basdekis
                                                Vivian H. Basdekis (WV State Bar 10587)




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